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               EXHIBIT 11
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Rikers detainees say brown water bring rashes and
stomach sickness; advocates say it's another sign of
inhumane NYC jail conditions
     Graham Rayman, New York Daily News
     Sun, October 23, 2022 at 7:05 PM · 4 min read                     TRENDING
                                                                            A family of five on a surprise visit to
                                                                       1.   Disney World said they were left 'stuck
     NEW YORK — Brown water spews from faucets and shower                   in the hotel room all day' after their
                                                                            truck was stolen along with a car seat,
     heads in at least one Rikers Island housing area, detainees            iPads and Apple watches
     say — a condition they blame for rashes and stomach woes,              A 'Tripledemic'? Flu and Other Infections
     and which advocates say is another sign of deplorably cruel
                                                                       2.   Return as COVID-19 Cases Rise.

     conditions at the city’s jails.                                        Mom charged with murder for death of
                                                                       3.   son who consumed THC gummies
     Many in a housing unit containing 50 or so people at Rikers’
                                                                            How water has been weaponized in
     Anna M. Kross Center began to break out in strange rashes         4.   Ukraine

     and experience digestive problems, five detainees told the             Trump Vows To Sue In 2 Weeks To Snatch
                                                                       5.   Washington Post, NYT Pulitzers
     Daily News.

     They and their relatives complained to staff and filed at least
     two dozen 311 complaints. But they say nothing has been
     done to fix the problems — and the Department of
     Correction says it has had no reports of any issues with
     brown water at the Kross Center.

     “Sanitary water is a basic human need. No one should be
     housed in areas without it,” Legal Aid Society spokesman
     Redmond Haskins said. “These are old, decrepit facilities that
     must be closed, but until they are, the city has an obligation
     to find ways to keep people jailed there safe.”

     Public attention to city jails has been focused on the 33
     deaths in the system since Jan. 1, 2021, including 17 so far in
     2022.

     But the brown water at the 44-year-old Kross Center is
     another example of what advocates describe as inhumane
conditions in city jails. In August, the Board of Correction
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documented crumbling facilities, flooded housing areas,
outdoor rec yards taken over by weeds growing through
cracked concrete, and feces-stained floors.

Lamar Dreher, 35, who arrived in the Kross Center on July 22
on a weapons possession charge, said he had a stomach ache
for three days from drinking the water.

“The water is brown,” Dreher said. “I don’t know what’s going
on with the water, but when you take a shower, you get a
rash, and it itches. The skin is irritated. Everyone has the
rashes. The officers just say the water is no good.”

Dreher said he was told a work order had been called in but
it hasn’t appeared that any actual work took place.

Dreher’s girlfriend, Robyn Nieueleer, 47, started filing 311
complaints in early August about the water and other
problems. She wound up filing nearly two dozen.

The 311 system dutifully sent Nieueleer emails acknowledging
the complaints, but no actual city official contacted her.

“I have never received a response,” she said. “All I do is send.
All I get is, ‘It will be directed to the right department.’”

“It’s like World War I when solders would get trench foot
from drinking the water,” said Dreher’s lawyer, Alex Sanchez.

Dreher also had a severe asthma attack in early August. He
says was rebuffed when he asked for a respiratory pump that
would help along with medication to address his ailment.

Sanchez sent an email on Dreher’s behalf to the Correction
Department on Aug. 11. “This matter demands immediate
action. Mr. Dreher’s physical health, and possibly his life, may
be in jeopardy,” Sanchez wrote.

Eventually, Dreher was provided the pump, Sanchez said.

“The water is bad and they are afraid to drink it ... Lamar’s
gotten dehydrated and sick,” Sanchez said.

Jasiah Bruce 25, said he had been seeing brownish water off
and on since he arrived in AMKC eight months ago on an
attempted murder charge.
    “When I drank the water last week, it really made me sick,” he
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    said. “I’ve been throwing up, diarrhea. I can barely eat. My
    skin has been having a rash since I’ve been in here. It must be
    a pipe issue causing contamination in the water.”

    Detainees complain that the lack of showers makes the odor
    of un-showered bodies difficult to take. Toilet paper, soap
    and toothpaste often run out. Correction Department staff
    have told them to buy small bottles of water from the
    commissary, detainees say..

    “They tell us there’s no toilet tissue in the whole jail,” Dreher
    said. “What are you supposed to wipe yourself with? Rikers
    just isn’t working for us.”

    Another detainee, who asked not to be identified, said DOC
    provides one larger container of drinking water a day, but
    that runs out within an hour and isn’t replaced.

    “I started breaking out on my body with these dry patches
    that I’ve never had in my life,” he said.

    Anthony Herriot, 35, said that on July 4, a dead rat was
    found in the vegetarian chili. He was told by staff to call 311.
    At another point, there were cockroaches in the collard
    greens.

    Herriot also described similar issues with the brown water.

    “I was throwing up for several days,” said Herriot, who was
    released Oct. 6. “It was messing up my skin. They said it was
    a pipe issue, and we just have to deal with it.”

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    (Rocco Parascandola contributed to this report.)

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